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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )        8:09CR280
                     Plaintiff,              )
                                             )
       vs.                                   )          ORDER
                                             )
VICTOR RODRIGUEZ and                         )
CURTIS MC COY,                               )
                                             )
                     Defendants.             )


       This matter is before the court on the motion to continue by defendant Victor
Rodriguez (Rodriguez) (Filing No. 93). Rodriguez seeks a continuance of the trial of this
matter which is scheduled for October 5, 2009. Rodriguez’s counsel has represented to
the court that Rodriguez will submit an affidavit wherein Rodriguez represents that he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. Rodriguez’s counsel represents
that government’s counsel has no objection to the motion. Upon consideration, the motion
will be granted and trial will continued as to both defendants.


       IT IS ORDERED:
       1.     Rodriguez's motion to continue trial (Filing No. 93) is granted.
       2.     Trial of this matter is re-scheduled for November 9, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
October 1, 2009 and November 9, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 1st day of October, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
